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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 VMWARE LLC,


                      Plaintiff,
                                                   CIVIL ACTION No. 25-353 (RGA)
            v.


 SIEMENS AG, SIEMENS CORPORATION,
 SIEMENS INDUSTRY SOFTWARE, INC.,
 SIEMENS MEDICAL SOLUTIONS USA,                    REDACTED - PUBLIC VERSION
 INC., SIEMENS HEALTHCARE
 DIAGNOSTICS, INC., SIEMENS
 MOBILITY, INC., and PETNET
 SOLUTIONS, INC.,


                      Defendants.


    DECLARATION OF JAMES JOHN LOMEO IN SUPPORT OF DEFENDANTS’
        OPENING BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS
        PURSUANT TO THE DOCTRINE OF FORUM NON CONVENIENS

I, James John Lomeo, declare as follows:

       1.        I am an attorney at the law firm of Kirkland & Ellis, LLP, and I am counsel of

record in this action for Defendants. I am a member of the Bars of the State of Texas and the

District of Columbia. I have personal knowledge of the matters stated in this declaration and

would testify truthfully to them if called upon to do so.

       2.        I submit this declaration in support of Siemens AG’s Opening Brief in Support of

their Motion to Dismiss Pursuant to the Doctrine of Forum Non Conveniens.

       3.        Attached as Exhibit 1 is a true and correct copy of the Master Software License

and Services Agreement between Siemens AG and VMware, dated November 28, 2012.
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       4.      Attached as Exhibit 2 is a true and correct copy of the Enterprise License

Agreement Order Form between Siemens AG and VMware, dated September 29, 2021.

       5.      Attached as Exhibit 3 is a true and correct copy of the Amended Master Software

License and Services Agreement between Siemens AG and VMware, dated September 29, 2021.

       6.      Attached as Exhibit 4 is a true and correct copy of a letter from Dr. Julian A.

Sanner to Dr. Matthias Werner and Dr. Felizitas Casper, dated October 8, 2024.

       7.      Attached as Exhibit 5 is a true and correct copy of a compilation of the Asserted

VMware Copyrights retrieved from the United States Copyright Office website.

       8.      Attached as Exhibit 6 is a true and correct copy of an invoice for software

licenses and support services from VMware International Unlimited Company to Siemens AG,

dated December 17, 2024.

       9.      Attached as Exhibit 7 is a true and correct copy of Purohit v. Legend Pictures,

LLC, No. 18-1907-RGA, D.I. 33 (D. Del. Nov. 14, 2019).

       I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct.


       EXECUTED this 10th day of June, 2025 in Austin, Texas.

                                                   /s/ James John Lomeo
                                                   James John Lomeo
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2025, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on

June 10, 2025, upon the following in the manner indicated:

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                                                      /s/ Karen Jacobs

                                                     Karen Jacobs (#2881)
